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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *
APRYL KAYLOR ET AL.,
                                                  *
       Plaintiffs,
                                                  *
v.
                                                  *          Civil No. 21-01164-BAH
JUAN A. ARRISUENO, M.D. ET AL.,
                                                  *
       Defendants.
                                                  *
*      *       *       *       *      *       *       *      *       *       *      *       *     *

                                   MEMORANDUM OPINION

       This is a medical malpractice case arising out of Plaintiff Apryl Kaylor's onset of

necrotizing fasciitis of the left arm and the alleged negligence of medical professionals at the

UPMC Western Maryland Corporation (the "UPMC Hospital"), whose medical decisions

allegedly resulted in a delay in Ms. Kaylor receiving the correct diagnosis and required surgical

intervention. 1 ECF 1, at 5-8 ,r,r 10-17. Ms. Kaylor and her spouse, Stephen Kaylor, brought suit

against numerous medical professionals at the UPMC Hospital and the UPMC Hospital itself,

alleging Defendants' negligent failure to diagnose Ms. Kaylor's necrotizing fasciitis caused her.

permanent disability and loss of consortium2 to Mr. Kaylor. Id. at 4, 17.



1
  Jurisdiction is proper based upon diversity of citizenship. 28 U.S.C. § 1332(a). Plaintiffs are
citizens of West Virginia, and all Defendants are citizens of Maryland. See ECF 1, at 3 ,r,r 1-2.
Additionally, Plaintiffs have alleged the amount in controversy exceeds $75,000. Id. at 16 ,r 37. •
2
  "[L]oss of consortium ... means the 'loss of society, affection, assistance and conjugal
fellowship. Ii includes the loss or impairment of sexual relations." Owens-Illinois, Inc. v. Cook,
872 A.2d 969,980 (Md. 2005) (quoting Deems v. W. Md. Ry. Co., 231 A.2d 514,517 (Md. 1967)).
"A loss of consortium claim is derivative of the injured spouse's claim for personal injury." Id.
(citation omitted). While Plaintiffs did not use the term loss of consortium in the complaint, it is
clear this is the claim Plaintiffs assert. See ECF 1, at 17-18 ,r,r 1-4 (alleging in Count II that
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       Defendants include Juan A. Arrisueno, M.D. ("Dr. Arrisueno"), Robert Daniel Flint, Jr.,

M.D. ("Dr. Flint"), Pete Allen Kuhn, NP-C ("Mr. Kuhn"), Ravi Teja Pilla, M.D. ("Dr. Pilla"),

Diana L. Pepe, CRNP ("Ms. Pepe"), Christine Sensabaugh, M.D. ("Dr. Sensabaugh"), Rameet

Thapa, M.D. ("Dr. Thapa"), Richard 0. Addo, M.D. ("Dr. Addo"), Mohammed Zulfequar Ali,

M.D. ("Dr. Ali"), and the UPMC Hospital.· ECF 1, at I.

       All the above Defendants, except Dr. Arrisueno, Dr. Thapa, and the UPMC Hospital,

brought the present motion for summary judgment. ECF 86; ECF 89-1, at 6 n.1. For simpli~ity, I

will refer to the movant Defendants of ECF 86 (Drs. Flint, Pilla, Sensabaugh, Ali, and Mr. Kuhn

and Ms. Pepe) as "Movants." Pending before the Court is Movants' Motion for Summary

Judgment (the "Motion"). ECF 86. Plaintiffs filed an opposition, ECF 89, and Movants filed a

reply, ECF 90. All filings include memoranda oflaw and exhibits. 3 I have reviewed all relevant

filings and find that no hearing is necessary. See Loe. R. 105.6 (D. Md. 2023). For the reasons

stated below, Movants' Motion is DENIED.

I.     BACKGROUND
       Necrotizing fasciitis is a deep soft tissue infection, ECF 86-1, at 5, that is "a Class I'

emergency," which, as defined by one of Plaintiffs' experts, is an emergency in which "life and

limb are at stake." ECF 89-30 (Dr. Freed deposition), at 3, 75: 10-12. Its fast progression requires

surgical intervention and "[t]he earlier you operate the less tissue there is lost and the more likely

it is that the patient will return to full function in the future." Id. at 4, 86:5-8; ECF 89-29 (Dr.

Freed declaration) ,r 9; ECF 86-1, at 5 (conceding as such). Ms. Kaylor's expert witnesses will


Defendants' negligence and the resulting pain Ms. Kaylor experiences has caused "interrupt[ions]"
and "damage[]" to "their marriage and marital relationship," and has damaged Ms. Kaylor's
"ability to function as a normal wife").
3
 I refer to all ·filings by their respective ECF numbers and page numbers by the ECF-generated
page numbers at the top of the page.
                                                  2
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opine that the standard of care for this condition requires a medical professional, upon a reasonabie

suspicion of the condition, to order urgent imaging and an emergency surgical consultation. See,

e.g., ECF 89-26 (Dr. Takhar deposition), at 3, 84:7-13. The experts will opine that a reasonably

prudent medical professional would have had a "high suspicion for [necrotizing fasciitis ]" based

on Ms. Kaylor's clinical and laboratory presentation and that a reasonably prudent medical

profes~ional would have acted qui(?klY to assess and diagnose the condition. See, e.g., ECF 89-25

(Dr. Alan Van Opstal deposition), at 3, 73:17-21; ECF 89-27 (Dr. Itskowitz deposition), at 12,

126:9-12.

       As the timeline of Ms. Kaylor's necrotic infection is important to Movants' causation

arguments, I will briefly summarize the four days of treatment Ms. Kaylor received at UPMC

Hospital, followed by Ms. Kaylor's eventual surgical treatment at a different hospital on the fifth

day.

       A.    April 7, 2020: Ms. Kaylor is admitted to the emergency room displaying signs of
             necrotizing fasciitis.

        On April 7, 2020, at 10:57 a.m., Ms. Kaylor presented to UPMC Hospital with complaints

of left-hand swelling, pain, and an inability to move her fingers. ECF 1, at 8 ,r 18. Ms. Kaylor

indicated that she had begun experiencing these symptoms for three days prior to visiting the

emergency room and that her symptoms had progressively worsened. ·Jd, Ms. Kaylor's expert

witness, Dr. Jeffrey Freed, will opine that that Ms. Kaylor "had necrotizing fasciitis at the time she

presented to [UPMC Hospital]," ECF 89-29 ,r 8, and that she should have received surgery on or

about the 7th, or immediately thereafter, ECF 89-30, at 5, 97:14-98:14.

       Ms. Kaylor was first examined by Mr. Kuhn, a registered nurse practitioner and expert in

emergency medicine. ECF 1, at 8 ,r 18; ECF 86-2, at 1 (Mr. Kuhn notes). Mr. Kuhn noted "red

streaking up the volar aspect [or palm side] of[Ms. Kaylor's] left arm extending to the elbow," as


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well as "redness," "swelling of [her] left hand" and the appearance of"bullae [or blisters] to the

left hand," ECF 86-2, at 1-2.4 Mr. Kuhn also observed "lymphangitis that extend[ed] from the

hand up to the elbow," and decreased movement with normal sensation of the fingers. 5 Id. Mr.

Kuhn documented that Dr. Flint, an expert in emergency medicine, "contacted the hospitalist and

discussed [Ms. Kaylor] with him." Id. Dr. Flint also examined Ms. Kaylor, ECF 89-6 (Dr. Flint

notes), and ordered "appropriate diagnostic testing.'.' ECF. 86-2, at 4. Ms. Kaylor's "Final

[Emergency Department] Diagnosis" was: "Fever[,] Leukocytosis[,] Left hand vasculitis[, and]

Left hand cellulitis." 6 Id. Ms. Kaylor was admitted for further treatment. Id.

       Plaintiffs allege that Ms. Kaylor's clinical presentation was "consistent with necrotizing

fasciitis, which should have been included on a differential diagnosis and pursued." 7 ECF 1, at 9




4
 See Bullae, MedlinePlus, https://medlineplus.gov/ency/article/003239.htm (last visited Apr. 19,
2024) ("Bullae are large blisters on the skin that are filled with clear fluid."); Volar, Merriam-
Webster's Online Dictionary, https://www.merriam-webster.com/dictionary/volar (last visited
Apr. 19, 2024) (defining volar as "relating to the palm of the hand[.]").
5
    Lymphangitis, Cleveland Clinic, https://my.clevelandclinic.org/health/diseases/25234-
1ymphangitis (last visited Apr. 19, 2024) ("Lymphangitis is inflammation of [the] lymph vessels.
Lymph vessels ... transport lymphatic fluid away from tissues and deliver it back into your
bloodstream.").
6 "Leukocytosis means you have a high white blood cell count."     High White Blood Count,
Cleveland Clinic, https://my.clevelandclinic.org/health/diseases/17704-high-white-blood-cell-
count (last visited Apr. 19, 2024). "Vasculitis involves inflammation of the blood vessels."
Vasculitis, Mayo Clinic, https://www.mayoclinic.org/diseases-conditions/vasculitis/symptoms-
causes/syc-20363435 (last visited Apr. 19, 2024). Cellulitis is a "bacterial skin infection."
Cellulitis, Mayo Clinic, https://www.mayoclinic.org/diseases-conditions/cellulitis/symptoms-
causes/syc~20370762 (last visited Apr. 19, 2024).
7 A differential diagnosis is "a list of conditions that share the same symptoms [that] help make a

final         diagnosis."              Differential       Diagnosis,         Cleveland        Clinic,
https ://my .clevelandclinic.org/health/diagnostics/223 27-differential-diagnosis (last visited Apr.
19, 2024).                                                         •


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    119. However, neither Dr. Flint nor Mr. Kuhn obtained a STAT8 surgical consultation, a STAT

    CT9 or an MRI scan. 10 Id.; see also ECF 86-2, at 1-4; ECF 89-6, at 2. Dr. Alan Van Opstal will.

    opine that Dr. Flint and Mr. Kuhn breached the applicable standard of care in this manner. ECF

    89-25, at 5, 95:9-15; see also ECF 89-26, at 3-4, 84:4-97:17 (opining that Mr. Kuhn and Dr. Flint

    breached the standard of care in the same manner).

           At 2:05 p.m. on April 7, 2020, after Ms. Kaylor was moved to a different unit, she was

    examined by Dr. Pilla, an expert in hospital medicine. ECF 1, at 9120; ECF 89-7 (Dr. Pilla notes).

    Dr. Pilla noted Ms. Kaylor's past medical history, her laboratory results, and her clinical condition

    in the emergency department before opining that Ms. Kaylor was "[s]ep[tic] [with] no clear source

    of infection." ECF 89-7, at 2, 5. Dr. Pilla suspected that her "leukocytosis ... could be reactive

    secondary to a [venous thromboembolism]." Id. at 5. Dr. Pilla indicated her condition was "very

    concerning for DVT" so he placed her on "Lovenox for therapeutic anticoagulation." 11 Id. Dr.

    Pilla ordered an "upper extremity duplex, [which was] negative," and a "chest X-ray." Id. Dr.

    Pilla planned to "have [Ms. Kaylor] on broad-spectrum antibiotics," "[c]ontinue IV fluids," and




    8
     "A STAT order is an order to be done immediately." Adventist Healthcare, Inc. v. Matti11gly,
    223 A.3d 1025, 1029 n.5 (Md. App. 2020) .
9
• '"CT' is the abbreviation for a computed tomography, which is 'imaging anatomic information
    from a cross-sectional plane of the body, each image generated by a computer synthesis ofx-ray
    tr;msmission data obtained in many different directions in a given plane."' Rodriguez v. Clarke,
    926 A.2d 736, 738 n.2 (Md. 2007) (quoting Stedman's Medical Dictionary 468, 1996 (28th ed.
    2006)).
    10
  "An MRI is magnetic resonance imaging[.]" Copsey v. Park, 160 A.3d 623, n.3 (Md. 2017)
(noting "these procedures use a magnetic field, radio waves and a computer to create detailed
images ... to distinguish normal, healthy tissue from diseased tissue" (citation omitted)).
    11
•  "DVT" is an abbreviation for deep vein thrombosis. Deep vein thrombosis (DVT), May Clinic,
https://www.mayoclinic.org/diseases-conditions/deep-vein-thrombosis/diagnosis-treatment/drc-
20352563 (last visited Apr. 19, 2024).
                                                     5
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"avoid [radiographic] contrast until further improvement in [Ms. Kaylor's] kidney function." Id.

D~. Pilla's notes do not indicate that he suspected necrotizing fasciitis. Id Further, Dr. ·Pilla's

notes indicate he did not order CT imaging of Ms. Kaylor's arm, or a surgical consultation. See

id

       Plaintiffs allege that Dr. Pilla breached the applicable standard of care by failing to

evaluate, assess, diagnose, and treat Ms. Kaylor for necrotizing fasciitis when she presented with

signs and symptoms ofthis illness. ECF I, at 5 1 I 0, 10 122. Plaintiffs' .expert Dr. Itskowitz will

opine that Dr. Pilla breached the standard of care in this manner. ECF 89-27, at 5, 77: 14-78:1.

       B.    April 8, 2020: Ms. Kaylor's symptoms worsen and a CT scan is ordered, though
             not on a STAT basis.

       On April 8, 2020, Ms. Kaylor was examined by Dr. Sensabaugh, an expert in hospital

medicine. •ECF 1, at 10 1 23; ECF 89-8 (Dr. Sensabaugh dictation). Dr. Sensabaugh concluded

that Ms. Kaylor was suffering from "[s]epsis secondary to cellulitis." ECF 89-8, at 3. Dr.

Sensabaugh requested "consult[ations] with infectious disease as well as plastics." Id          Dr.

Sensabaugh indicated Ms. Kaylor "may benefit at least from a CT, but ... [that Dr. Sen~abaugh]

w[ould] discuss with Infectious.Disease and plastics first." Id Pursuant to Dr. Sensabaugh's

consultation request, during the afternoon of April 8, 2020, Ms. Kaylor was examined by Dr.

Thapa, an expert in infectious disease medicine. ECF 1, at 10-11 1 24. Plaintiffs allege Dr.

Sensabaugh "negligently failed to request a STAT surgical consultation, negligently failed to order

a STAT CT while waiting for surgery to arrive, and negligently failed to rule in or rule out the

necrotizing fasciitis from which [Ms. Kaylor] suffered." ECF I, at 10 1 23.

       Dr. Thapa observed Ms. Kaylor's worsening symptoms which included "constant, severe

pain and redness of her entire upper extremity which was exacerbated by movement." Id at 11 1

24. Dr. Thapa noted "prominent blister fofll)ation and erythematous patches on [Ms. Kaylor's]


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left hand." Id. Finally, he noted that Ms. Kaylor continued to be febrile, tachycardic, tachypneic,

and hypotensive despite the administration of antibiotics. 12 Id. Dr. Thapa o~ined that Ms. Kaylor

had "sepsis secondary to left upper extremity cellulitis," and planned to continue the antibiotic

coverage. Id. Additionally, Dr. Thapa was the first medical professional to consider the possibility

that Ms. Kaylor's condition could be necrotizing fasciitis and recommended a CT scan. Id. Ms.

Kaylor alleges Dr. Thapa negligently failed to recommend that imaging study on a STAT basis

and failed to recommend a STAT surgical consultation. 13 Id.

        After Dr. Thapa's con~ultation, at approximately 3:30 p.m.; Dr. Sensabaugh ordered a CT

 scan of Ms. Kaylor's left forearm. Id. 1 25. Dr. Sensabaugh allegedly failed, however, to order

 the CT scan on a STAT basis and failed to obtain a STAT surgical consultation. 14 Id. By the end

 of Ms. Kaylor's second day of hospitalization, she had not yet received a CT scan or surgical

 consultation. See ECF 1 at 10123. Dr- Itskowitz will opine that Dr. Sensabaugh breached the

 standard of care in this manner. See ECF 89-27, at 7-9, 97:5-102: 15 (opining that "[i]t was [Dr.

 Sensabaugh's] responsibility to get a surgeon to the bedside to see this patient on the 8th and to

 take this patient emergently to the operating room" and "prior to leaving at 7 p.m. on the 8th, Dr.




 12
     ''Tachycardia is a heart rate that's faster than normal[.]" Tachycardia, Cleveland Clinic,
  https://my.clevelandclinic.org/health/diseases/22108-tachycardia (last visited Apr. 19, 2024).
  "Tachypnea is        quick,     shallow    breathing."       Tachypnea,     Cleveland    Clinic,
. https://my.clevelandclinic.org/health/symptoms/24124-tachypnea (last visited Apr. 19, 2024).
 13 Dr. Thapa is not a Movant, ECF 86, and his alleged negligence is not subject to this Motion, but

 Plaintiffs' allegations against Dr. Thapa are included here for narrative clarity.
 14 It also appears from the record that Ms. Kaylor did not receive a plastic surgery consultation

 because there were no on-call plastic surgeons from April 8, 2020, through April 14,.2020. See
 ECF 89-11, at 2.

                                                   7
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Sensabaugh was required to make sure that the CT scan was done, and t~at the surgeon had

evaluated the patient").

       C.    April 9, 2020: Ms. Kaylor's pain worsens, an urgent CT scan is ordered, a non-
             urgent' surgical consultation is performed, and no medical professional
             diagnoses her illness.

       Ou April 9, 2020, at 12:47 a.m., Dr. Ali, an expert in infectious disease, saw Ms. Kaylor

due to her acute worsening left arm pain despite the administration of narcotic pain medicine. ECF

1, at 11-12 il 26; ECF 89-13 (Dr. Ali notes). Dr. Ali noted "areas ofinduration in large patches,"

as well as "bullous areas on her wrist." 15 ECF 89-13, at 2. Dr. Ali noted a "palpable [pulse] in the

radial artery" without "signs of compartment syndrome" 16 and indicated that he could not rule out

"NF." 17 Id.. As such, Dr. Ali ordered urgent CT imaging, id.; however, Ms. Kaylor alleges that

Dr. Ali negligently failed to order a surgical consultation on a STAT basis. ECF 1, at 11-12 ,r 26;

see also ECF 89-13, at 2 (noting Ms. Kaylor "will need surgery consult for fasci[o]tomy or

debridement"). Plaintiffs' expert Dr. Elizabeth Van Opstal will opine that Dr. _Ali breached the

standard of care in this manner. See ECF 89-28 (Dr. Elizabeth Van Opstal deposition), at 7-9,

85:3-90:7.

       At 2:50 a.m., Ms. Kaylor received a CT scan of her left arm with contrast. ECF 1, at 11-

12 ,r 26. It was not dictated by a radiologist until approximately 8:00 a.m. See ECF 89-28, at 8,

87:13-88:2. The imaging revealed "subfascial fluid surrounding the muscles from the distal mid-


15
   "Skin induration is a deep thickening of the skin[.]" Sherry Christiansen, Induration Skin
Hardening       Signs      and      Causes,      Verywellhealth     (Sept.      8,     2023),
https://www.verywellhealth.com/induration-skin-5111867.
16
  "Compartment syndrome is a painful buildup of pressure around your muscles." Compartment
Syndrome, Cleveland Clinic, https://my.clevelandclinic.org/health/diseases/1531_5-compartment-
syndrome (last visited Apr. 19, 2024).
17
  Neither party appears to contest that Dr. Ali was referring to necrotizing fasciitis when using the
abbreviation "NF." See ECF 1, at 11 ,r 26; ECF 86-1, at 2-3.
                                                  8
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 humerus, subcutaneous edema, enlarged lymph nodes, intact vascular structures, without evidence

 of DVT or formed abscesses," which Plaintiffs allege is consistent with necrotizing fasciitis. 18

 ECF 1, at 11-12126. Plaintiffs allege the CT scan imaging should have alerted the Defendants

 of Ms. Kaylor's need for emergency surgical intervention. 19 Id.; see also ECF 89-27, at 6, 79:14--

 16 (opining that "the presence of fluid inflammation in the muscle layer would be concerning for

 a necrotizing soft tissue infection").

      , Nearly twelve hours later, at 2:23 p.m., Ms. Kaylor was seen by Dr. Arrisueno, an expert

 in general surgery. ECF I, at 12-13127; ECF 89-16 (Dr. Arrisueno's surgery consultation report).

 Dr. Arrisueno noted that Ms. Kaylor was displaying "increase[d] swelling and blisters on [her] left

 hand," and he observed "[e]dema, redness, .and bullae to'the left hand" as well as "[m]ultiple dry

 skin lesions." ECF 89-16, at 2. Plaintiffs allege Dr. Arrisueno negligently failed to diagnose Ms.

 Kaylor with necrotizing fasciitis, though her "clinical signs, laboratory results, and CT scan·

 results" were consistent with that diagnosis. ECF I, at 11-12127. Dr. Arrisueno concluded that

 Ms. Kaylor was suffering from "[b ]ilateral skin dermatitis progressing to cellulitis of [her] left

· hand."20 ECF 89-16, at 3. Dr. Arrisueno "[unroofed] two blisters" on Ms. Kaylor's hand, obtained

 culture_s and ordered the application of Silvadene cream. Id.. Plaintiffs allege this treatment was

 insufficient to treat Ms. Kaylor's necrotizing fasciitis. ECF 1, at 12-13 127.




 18
   "Edema is swelling caused by fluid trapped in your body's tissues[.]" Edema, Cleveland Clinic,
 https://my.clevelandclinic.org/health/diseases/12564-edema (last visited Apr. 19, 2024).
 19
   A CT cannot confirm a diagnosis of necrotizing fasciitis, but in some instances, it can rule the
 condition out. ECF 89-27, at 10, 110:6-8. Only surgical exploration in the operating rpom can
 definitively establish necrotizing fasciitis. Id.
 20
   "Dermatitis is a general term for conditions that cause inflammation of the skin." Dermatitis,
 Cleveland Clinic, https://my.clevelandclinic.org/health/diseases/4089-dermatitis (last visited Apr.
 19, 2024).
                                                 9
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         Additionally, Ms. Kaylor alleges Dr. Arrisueno was negligent for failing to diagnose her

 true condition, failing to immediately take her to the operating room for STAT surgical

 intervention, failing to examine her on the morning of April 8, 2020, despite being informed of her

 condition by Dr. Sensabaugh, and for failing to return and re-examine her condition after

 misdiagnosing her. 21 /cl;

         Subsequently, at 11: 11 p.m. on April 9, 2020, Ms. Kaylor was examined by Ms. Pepe, "an

 expert certified registered nurse practitioner."22 Id at 9-10 ,i 21; ECF 89-17 (Ms. Pepe notes).

 Ms. Pepe examined Ms. Kaylor due to her "complaints of pain progressing up her arm."· ECF 89-

 17, at 2. Ms. Kaylor "complain[ed] of pain extending up her arm ... to [her] prox[imal] humerus"

 and, upon examination, Ms. Pepe noted "significant erythema and edema that extend[ed] from the

 prox[imal] humerus. to distal fingertips." 23 Id Ms. Kaylor's skin had an "almost cobblestone

 appearance" and her fingers ,displayed "swelling, crusting, [and a] [v]ery limited [range of

 motion]." Id.     Ms. Pepe concluded Ms. Kaylor suffered from cellulitis of the left arm and

 secondary sepsis. 24 Id. at 3. Ms. Pepe's plan was to continue antibiotic therapy, with pain




 21
   Dr. Arrisueno is not a Movant, ECF 86, and his alleged negligence is not subject to this Motion,
 but Plaintiffs' allegations against Dr. Arrisueno are included here for narrative clarity.
 22
    In Plaintiffs' complaint, Plaintiffs appear to have mistakenly asserted that Ms. Pepe evaluajed
 Ms. Kaylor on April 7th or 8th, see ECF 1, at 9 ,i 21; ECF 86-1, at 3 n.l. However, the parties
 agree Ms. Pepe evaluated Ms. Kaylor on April 9, 2020. ECF 86-1, at 3 n.1; ECF 89-1, at 9-10
 (citing ECF 89-17).
 23
    The humerus is "the only bone in your upper arm." Humerus Fracture, Cleveland Clinic,
 https://my.clevelandclinic.org/health/diseases/22990-humerus-fracture (last visited Apr. 19,
 2024). "The proximal end of your humerus is the top." Id.
 24
     Sepsis is the "body's extreme reaction to an infection" in which· the "immune system stops
. fighting the infection and starts damaging ... normal tissues and organs." Sepsis, Cleveland
  Clinic, https://my.clevelandclinic.org/health/diseases/12361-sepsis (last visited Apr. 19, 2024).
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management and elevation of the arm with continued monitoring. Id. Plaintiffs' expert Dr.

Itskowitz will opine that Ms. Pepe breached the standard of care by "not ensur[ing] that [Ms.

Kaylor] was evaluated by the surgeon for necrotizing fasciitis" when the condition "would have

been in her differential." ECF 89-27, at 11, 118:11-119:18.

       In sum, by the end of Ms. Kaylor's third day of hospitalization she had received both a CT

scan and a surgical consultation; however, no medical professional had diagnosed her condition.

       D.    April 10, 2020: Ms. Kaylor remains undiagnosed.

       On April 10, 2020, at 9:41 a.m., Dr. Addo, an expert in hospital medicine, saw Ms. Kaylor.

ECF 1, at 13 ,r 28; ECF 89-18 (Dr. Addo notes). Dr. Addo noted both Ms. Kaylor's "[l]eft upper

extremity as well as [her] bilateral lower extremities [were] diffusely swollen with 3+ pitting

edema." ECF 89-18, at 3. Dr. Addo's assessment included cellulitis of the arm, anemia, lower

extremity edema, hyponatremia, hypokalemia, acute kidney injury, and insomnia. 25 Id. at 5.

Plaintiffs allege that Dr. Addo negligently failed to diagnose Ms. Kaylor's necrotizing fasciitis

despite her "overwhelming and progressing" symptoms of the condition and her continued sepsis

despite antibiotic administration. ECF I, at 13 ,r 28. Plaintiffs allege Dr. Addo sh~mld have

ordered a STAT surgery consultation to reevaluate her condition. 26 Id. Plaintiffs' expert Dr.

Itskowitz will opine that Dr. Addo breached the standard of care in this manner. See ECF 89-27,



25
   Hyponatremia and hypokalemia refer to low sodium and potassium levels in the blood,
respectively. • See Hyponatremia, Mayo Clinic, https://www.mayoclinic.org/diseases-
conditioris/hyponatremia/symptoms-causes/syc-20373711 (last visited Apr. 19, 2024)
("Hyponatremia occurs when the concentration of sodium in your blood is abnormally low.");
Hypokalemia, Cleveland Clinic, • https://my.clevelandclinic.org/health/diseases/17740-low-
potassium-levels-in-your-blood-hypokalemia (last visited Apr. 19, 2024).
26
   Additionally, Dr. Addo's notes indicate Ms. Kaylor was "unhappy with the care she [was]
receiving" and "requested to be transferred to Morgantown." ECF 89-18, at 5. However, Dr.
Addo noted that "after talking to her and in view of the overall covid 19 situation, she has agreed
to receive further treatment here." Id.
                                                11
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at 12, 126:9-129:8 ("Dr. Addo on the 10th and the I Ith was required to pursue a stat surgical

consultation. The patient was not only not getting better, but this patient was getting worse.");

ECF 89-28, at 9, 11-12, 110:14-114:11.

       April 10, 2020, is an important date in the c~se, as Plaintiffs' expert Dr. Freed is expected

to opine that had Ms. Kaylor received surgical intervention at any point between her admission on

April 7, 2020, through the morning of April 10, 2020, Ms. Kaylor "more likely than' not would

have returned to reasonable function and been able to perform her activities without permanent

disability." ECF 89-29, at 4111; see also infra Section III.A.I (discussing Dr. Freed's testimony

in more depth). After the morning of April I 0, 2020, Dr. Freed will opine that "as the I 0th went

on and into the 11th, certainly there was enough tissue loss to cause a permanent deficit." ECF

89-30, at 4, 87:12-14.

       E.    April 11, 2020: Ms. Kaylor leaves UPMC Hospital against medical advice and
             goes to a different medical center, where she is diagnosed with necrotizing
             fasciitis and receives surgical intervention.

       On April 11, 2020, Ms. Kaylor's symptoms continued to worsen, and Ms. Kaylor decided

to leave the UPMC Hospital and drive to the emergency department of a different tertiary care

center, the West Virginia University Hospitals and University Health Associates ("WVU

Hospital"). ECF I, at '13-14 1 30; ECF 89-21 (Operative Report from WVU Hospital); 89-22

(Discharge Summary from WVU Hospital). As the WVU Hospital summarized, upon arrival,

"Plastic Surgery performed a bedside debridement with cultures remaining negative." ECF 89-

22, at 2; see also ECF 89-20 (WVU H;ospital surgeon notes). WVU Hospital medical professionals

ordered a "CT [of Ms. Kaylor's] bilateral upper extremities [which] showed diffuse soft tissue

edema and swelling of the left upper extremity without loculated, drainable collection or soft tissue

air." ECF 89-22, at 2. Ms. Kaylor "was urgently taken to the operating theatre for fasciotomies

of the dorsal hand, dorsal forearm, volar forearm with carpal tunnel release, washout and packing
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to the wound." Id. Ms. Kaylor remained in the hospital until April 17, 2020. Id.; ECF 1, at 14 1

31.

       Ms. Kaylor· alleges that following her discharge, she received home health services to

manage her IV antibiotic therapy until April 25, 2020. ECF 1, at 14 131. Ms. Kaylor was left

with "minimal use of her left hand and arm due to extensive muscle loss, significant scarring, and

chronic pain." Id. 132. As a result of her disability, she can no longer work or drive a car, and she

requires assistance for basic activities. Id.; see also ECF 89-31 (Plaintiffs' Expert, Dr. Michael

April notes), at 2--4 (opining on damages); ECF 89-24 (Plaintiffs' preliminary Rule 26(a)(2)

disclosure), at 20-21.

II.    LEGALSTANDARD
       Federal Rule of Civil Procedure 56(a) provides that summary judgment should be granted

"if the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). The relevant inquiry is "whether

the evidence presents a sufficient disagreement to require submission to a [trier of fact] or whether

it is so one-sided that one party must prevail as a matter of law." Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 251-52 (1986).

       •"Once a motion for summary judgment is properly made and supported, the opposing party

has the burden of showing that a genuine factual dispute exists." Progressive Am. Ins. Co. v. Jireh

House, Inc., 603 F. Supp. 3a 369,373 (E.D. Va. 2022) (citing Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 585-86 (1986)). "A dispute is genuine if 'a reasonable jury could

return a verdict for the nonmoving party."' Libertarian Party of Va. v. Judd, 718 F.3d 308, 313

(4th Cir. 2013) (quoting Dulaney v. Packaging Corp. ofAm., 673 F.3d 323,330 (4th Cir. 2012)).

"A fact is material ifit 'might affect the outcome of the suit under the governing law."' Id. (quoting

Anderson, 477 U.S. at 248). Accordingly, "the mere existence of some alleged factual dispute .
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 between the parties will not defeat an otherwise properly supported motion for summary

 judgment." Anderson, 477 U.S. at247--48(emphasis in original).

           The Court must view the evidence in the light most favorable to the nonmoving party and

 draw all reasonable inferences in that party's favor, Tolan v. Cotton, 572 U.S. 650,657 (2014) (per

 curiarn); Scott v. Harris, 550 U.S. 372, 378 (2007), and the Court "may not make credibility

 determinations or weigh the evidence," Progressive-Am. Ins. Co., 603 F. Supp. 3d at 373 (citing -

 Holland v. Wash Homes, Inc., 487 F.3d 208, 213 (4th Cir. 2007)). For this reason, summary

· judgment ordinarily is inappropriate when there is conflicting evidence because it is the function

 of the factfinder to resolve factual disputes, including matters of witness credibility. See Black &

 Decker Corp. v. United States, 436 F.3d 431, 442 (4th Cir. 2006); Dennis v. Columbia Colleton

 Med. Ctr., Inc., 290 F.3d 639, 644--45 (4th Cir. 2002).

           At the same time, the Court must"prevent factually unsupported claims and defenses from

 proceeding to trial." Bouchat v. Bait. Ravens Football Club, Inc., 346 F.3d 514, 526 (4th Cir.

 2003) (quoting Drewitt v. Pratt, 999 F.2d 774, 778-79 (4th Cir. 2003)). "The existence ofa mere

 scintilla of evidence in support of the nonmoving party as well as conclusory allegations or denials,

 without more, are insufficient to withstand a summary judgment motion." Progressive Am. Ins.

 Co., 603 F. Supp. 3d at 373 (citing Tom v. Hosp. Ventures LLC, 980 F.3d 1027, 1037 (4th Cir.

 2020)).

 III.      ANALYSIS

           A medical malpractice tort is essentially the same as a "traditional negligence claim." Am.

 Radiology Servs. v. Reiss, 236 A.3d 518, 531 (Md. 2020); Armacost v. Davis, 200 A.3d 859, 872

 (Md. 2019) (citations and quotation marks omitted). Thus, "the general principles which ordinarily

 govern in negligence cases also apply in medical malpractice claims." Reiss; 236 A.3d at 531



                                                   14
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(quoting Armacost, 200 A.3d at 872). Accordingly, in Maryland, 27 "[t]o prevail in a medical

malpractice negligence action, a plaintiff must prove four elements: '(1) the defendant's duty based

on an applicable.standard of care, {2) a breach of that duty, (3) that the _breach c<1used the injury

claimed, and (4) damages."'. 28 Frankel v. Deane, 281 A.3d 692, 703 (Md. 2022) (quoting Reiss,

236 A.3d at 531); see also Reiss, 236 A.3d at 521 (noting the longstanding principle that "all

. persons are presumed to have duly performed any duty imposed on them" and therefore

'"negligence cannot be presumed, but must be affirmatively proved" (quoting State ex rel. Janney

v. Housekeeper, 16 A. 382,384 (Md. 1889))). At this stage, Movants challenge only the element

of causation. See ECF 86-1, at 14.

        To establish the element of causation in a medical malpractice case, plaintiffs generally

must present expert testimony. Reiss, 236 A.3d at 532; Adventist Healthcare, Inc. v. Mattingly,



27
   A federal court sitting in diversity applies the substantive law of the state in which it sits. Megaro
v. McCullum, 66 F.4th 151, 159 n.4 (4th Cir. 2023) (citing Volvo Const. Equip. N. Ain., Inc. v.
CLM Equip. Co., Inc., 386 F.3d 581, 599--600 (4th Cir. 2004)). Accordingly, the Court applies
Maryland's substantive law in considering the present motion.
28
    While 'Maryland law "sets out the substantive elements of medical malpractice cases arising
through diversity jurisdiction, 'whether there is sufficient evidence to create a jury issue' regarding
the element of causation 'is controlled by federal rules."' Riggins v. SSC Yanceyville Operating
Co., LLC, 800 F. App'x 151, 155 (4th Cir. 2020) (quoting Fitzgerald v. Manning, 679 F.2d 341,
346 (4th Cir. 1982)); see also Jordan v. Iverson Mall Ltd P'ship, No. GJH-14~37, 2018 WL
2391999, at *5-7 (D. Md. May 25, 2018) ("[T]here is no requirement that an expert use any 'magic·
words' for their opinion to be admissible. However, the expert's. testimony taken as a whole must
still demonstrate that the expert is confident in his or her opinion to a reasonable degree of
certainty .... "). The parties appear to either rely upon Maryland law for determining the
sufficiency of the expert testimony, or they appear to treat the standards as coextensive. See ECF
86, at 11-12 (citing Maryland caselaw for the proposition that expert testimony must be
"sufficiently definite and certain to be admissible" though also citing Rule 702 of the Federal Rules
of Evidence governing the admissibility of expert testimony); ECF 86-1, at 8 (using "medical
certainty" and "medical probability" interchangeably); ECF 89, at 23-27 (citing exclusively to-
Maryland cases in argument). In any event, as I explain below, Movants appear to concede the
admissibility of Dr. Freed's opinion that surgical intervention by the morning of April· 10, 2020,
more likely than not would have resulted in Ms. Kaylor recoyering without permanent disability.
See infra note 30.                                         ,
                                                   15
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223 A.3d 1025, 1038 (Md. App. 2020); Rodriguez v. Clarke, 926 A.2d 736, 755. (Md. 2007)

("Because the gravamen of a medical malpractice action is the defendant's use of suitable

professional skill, which is generally a topic calling for expert testimony, this Court has repeatedly

recognized that expert testimony is required to establish negligence and causation.") (internal

citations and quotation marks omitted)); Meda v. Brown, 569 A.2d 202, 206-07 (Md. 1990) ("[I]n

the ordin'ary medical malpractice case, because of the complexity of the subject matter, expert

testimony is required to establish negligence and causation."); see also Young v. United States,

667 F. Supp. 2d 554, 562 (D. Md. 2009) ("[T]he Court may find adequate evidence to create a

triable issue, of fact with respect to causation only if expert opinion evidence establishes to a

reasonable degree of medical certainty that defendant's negligence was more likely the cause of

plaintiff's injuries than any other cause."); Crinkley v. Holiday Inns, Inc., 844 F.2d 156, 164 n.2

(4th Cir. 1988) ("[E]xpert opinion is of course the prime-indeed usually the only-way to prove

medical causation."); Green v. Obsu, Civ. No. ELH-19-2068, 2022 WL 2971950, at *20-21 (D.

Md. July 27, 2022) (discussing general requirement of expert testimony in medical malpractice

actions in Maryland). In other words, a jury cannot make inferences 'based only on res ipsa

loquitor-there must be some 'expert testimony supporting the inference that the medical

negligence caused an injury. See Frankel, 281 A.3d at 710 (citing Meda, 569 A.2d at 203).

       To establish causation, a plaintiff must prove a defendant's negligence is both a(!) cause-

in-fact of the injury and (2) a legally cognizable cause. Pittway Corp. v. Collins, 973 A.2d 771,

786 (Md. 2009); Copsey v. Park, 160 A.3d 623, 636 (Md. 2017); Young, 667 F. Supp. 2d at 561

(citing Stickley v. Chisholm, 765 A.2d 662,668 (Md. App. 2001)); Pippin v. Potomac Elec. Power

Ca., 132 F. Supp. 2d 379, 392-93 (D. Md. 2001), aff'd sub nom. Pippin v. Reillylndits., Inc., 64

F. App'x 382 (4th Cir. 2003). "Cause-in-fact" concerns whether a defendant's negligent conduct



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actually produced an injury. Pittway Corp., 973 A.2d at 786; Copsey, 160 A.3d at 636. "Legal

causation," in contrast, is "a policy-ori~nted doctrine designed to be a method for limiting liability

after cause-in-fact has been established." Pittway Corp., 973 A.2d at 786.

       Movants argue that Plaintiffs have failed to demonstrate via expert testimony that each

Movant was a cause-in-fact of Ms. Kaylor's injuries. See ECF' 86-1, at 14-16 (applying the

"substantial factor" test, a test for determining causation-in-fact). "The causation-in-fact inquiry

asks 'whether defendant's conduct actually produced~ injury."' State v. Exxon Mobil Corp., 406

F. Supp. 3d 420,453 (D. Md. 2019) (quoting Pittway Corp., 973 A.2d at 786). "Maryland courts.

have developed two tests to determine whether the requisite causation exists: the 'but-for test' and

the 'substantial factor' test." Id. (quoting Pittway Corp., 973 A.2d at 786).

       "Under the but-for test, the requisite causation exists when the injury would not have.

occurred but for the defendant's conduct." Id (quoting Pittway Corp., 973 A.2d at 786). This test

applies when there is only one tortfeasor or negligent act at issue. Id. (citing Pittway Corp., 973

A.2d at 786); Sindler v. Litman, 887 A.2d 97, 110 (Md. App. 2005) (noting the "but-for" test does

not resolve situations in which "two independent causes concur to bring about an injury, and either

cause' standing alone would have wrought the identical harm"); Yonce v. SmithKline Beecham

Clinical Lab'ys, Inc., 680 A.2d 569, 575-76 (Md. App. 1996).

       When there are numerous alleged tortfeasors, Maryland courts apply the "substantial

factor" test to determine which tortfeasors were the cause-in-fact of a single injury. 29 Pittway

Corp., 973 A.2d at 787; Young, 667 F. Supp. 2d at 561;· Yonce, 680 A.2d at 576. "Under the

substantial factor test, the requisite causation may be found if it is 'more likely than not' that the



29
  Importantly, numerous negligent actions may constitute the proximate cause of a harm. Young,
667 F. Supp. 2d at 561; At!. Mut. Ins. Co. v. Kenney, 591 A.2d 507, 512 (Md. 1991); Karns v.
Liquid Carbonic Corp., 338 A.2d 251,262 (Md. 1975).
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defendant's conduct was a substantial factor in producing the plaintiffs injuries." Exxon Mobil

Corp., 406 F. Supp. 3d at 453 (quoting Copsey, 160 A.3d at 636); Pittway, 973 A.2d at 787.

       In determining whether the requisite connection exists under the substantial factor test, the

following considerations are relevant:

       (a) the number of other factors which contribute in producing the harm and the
       extent of the effect which they have in producing it;

       (b) whether the actor's conduct has created a force or series of forces which are in
       continuous and active operation up to the time of the harm, or has created a situation
       harmless unless acted upon by other forces of which the actor is not responsible;

       (c) lapse of time.

Pittway, 973 A.2d at 787 (quoting Restatement (Second) of Torts § 433 (1965)); Exxon Mobile

Corp., 406 F. Supp. 3d at 453; Sindler, 887 A.2d at 110; Yonce, 680 A.2d at 576. "Regardless of

the test employed, the focus remai!)S on the fundamental and sometimes metaphysical inquiry into

the nexus between the defendant's negligent act and the resultant harm to the plaintiff." Yonce,

680 A.2d at 576.

       A.    Movants' arguments do not persuade.

       Movants argue that even if Drs. Pilla, Flint, and Sensabaugh, as well as Mr. Kuhn and Ms.

Pepe did breach the standard of care by failing to get a STAT CT and surgical consultation, that

these alleged breaches were remedied early enough in time to avoid Ms. Kay!or's permanent

injuries. 30 ECF 86-1, at 14. In other words, even if the STAT CT and surgical consultation should


30 It is less clear ifMovants are challenging the admissibility of Dr. Freed's testimony.
                                                                                       On the one
hand, Movants provide the legal standard for the admissibility of expert testimony, ECF 86-1, at
11, and in setting out the factual background Movants note that Dr. Freed's level of certainty
concerning some medical opinions appeared to change mid-deposition, ECF 86-1, at 8. However,
in argument, Movants appear to concede the admissibility of Dr. Freed' s testimony for _purposes
of this motion, by relying on Dr. Freed's opinion that the morning of April 10, 2020, was the "line
in the sand" for when surgical intervention could have prevented Ms. Kaylor's permanent
disability. See ECF 86-1, 14-16; see also ECF 86-1, at 16 (arguing only generally that Plaintiffs'


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have come sooner, Ms. Kaylor received both a CT and surgical consultation on April 9, 2020, a

day before the proverbial "line in the sand" Dr. Freed drew on the morning of April 10, 2020, as

the point ofno return for her permanent injuries. Id. at 15. Because all the alleged breaches were

rectified before permanent injuries set in, Movants argue that this proves their breaches were not

a cause-in-fact of Ms. Kaylor's injuries. Id.

       This argument does not persuade for two reasons: (1) a reasonable jury could understand

Dr. Freed's testimony to indicate a sliding scale of harm, not a "line in the sand"; and (2) a

reasonable jury could conclude that the outcome of the CT and surgical consultation would have

been different had the Movants not breached their standard of care.

               I.    A jury can construe Dr. Freed's testimony in at least two reasonable ways.

       Dr. Freed called Ms. Kaylor's condition a "Class 1 emergency," which is cine where "life

and limb are at stake. It takes precedence in an operating room over everything else." ECF 89-

30, at 3, 75:10-14. In Dr. Freed's deposition, when asked whether earlier surgery would have

changed the o,utcome, he said:

       So I can compare necrotizing fasciitis to cancer. Everybody knows that the earlier
       you operate on can9er the more likely you are to cure the patient. The patient will
       suffer Jess the earlier you operate. Necrotizing fasciitis is exactly the same. The
       earlier you operate the less tissue there is lost and the more likely it is that the patient
       will return to full function in the future. The longer the delay, the more tissue dies


experts' opinions are not specific enough as they do not refer to each Movant individually, not that
tl1e opinions lacked the requisite level of certainty). Given Movants' reliance on the admissibility
of such evidence in argument, I will treat the admissibility of Dr. Freed's testimony as undisputed
for purposes of the motion. See Fed. R. Civ. P 56(c)(2) (noting that "[a] party may object that the
material cited to support or dispute a fact cannot be presented in a form that would be admissible
in evidence"); Fed. R. Civ. P 56(e)(2) (noting when a party "fails to properly address another
party's assertion of fact as required by Rule 56(c), the court· may ... consider the fact undisputed
for purposes of the motion"). Thus, I will assume Dr. Freed's testimony that surgical intervention,
-by the morning of April 10, 2020, more likely than not would have staved off Ms. Kaylor's
permanent disability is admissible. See also infra Sections III.A. l, III.B (discussing permissible
inferences drawn therefrom and the role of Dr. Freed's testimony in Plaintiffs' prima facie medical
 malpractice claim).
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       and the more tissue dies the more likely it is that we will have a permanent disability
       from the infection. That's my opinion.

Id. at 4, 85:18-86:12. When asked whether the outcome would have been different had surgery

occurred on April 9, 2020, as opposed to April 11, 2020, Dr. Freed stated: "I think that if the

surgery had occurred on the 9th, more likely than not she would have returned to full function, had

another 48 hours not transpired before her compartments would be compressed and all the necrotic
                 0
ti~sue removed." Id., at 4, 86:13-22. In Dr. Freed's opinion, the surgery should have occurred

"[t]he very first time that they saw the blister, swollen; red, ascending infection," which was from

the moment Ms. Kaylor arrived in the emergency room and was examined. Id. at 5, 97:14--98_:14.

When asked whether surgery on the 10th or 11th would have made a difference in.Ms. Kaylor's

deficits Dr. Freed stated that "[p Jrobably as late as the morning of the 10th, she probably would

have recovered to complete function. But as the 10th went on and into the 11th, certainly there

was enough tissue loss to cause a permanent deficit." Id. at 4, 87:1-14.

       Movants read Dr. Freed's testimony as tantamount to saying that Ms. Kaylor would have

no permanent injuries had she received surgical intervention on the morning of April 10th. ECF

89-1, at 15. However, Dr. Freed's comparisons of this disease to cancer, and his commonsense

statement that the "earlier you operate the less tissue there is lost and the more likely it is that the

patient will return to full function in the future" could lead,a reasonable jury to view this disease's

progression as a sliding scale of harm, one where time was of the essence. See ECF 89-30, at 4,

85:22-86:12. In such a case, every hour Ms. Kaylor was undiagnosed was another hour where a

necrotic infection was eating away at her tissue, ultimately requiring· a greater amount of tissue to

be surgically removed. See ECF 89-30, at 7,.110:10-12 (Dr. Freed stating "[t]he one thing is I

testified to several times today already is that time is of the essence"). Because a jury could

reasonably read Dr. Freed'.s testimony in this manner, the Court is obliged to view the evidence in

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the light most favorable to the nonmoving party and draw all reasonable inferences in Plaintiffs'

favor. See Tolan, 572 U.S. at 657. As such, the Court cannot find that Movants' negligence was

harmless as a matter of law.

               2.      A jury can draw different conclusions about whether Ms. Kaylor would be
                       less permanently impaired had she obtained an earlier CT scan and surgical
                       consultation.

       Next, Movants argue that an earlier CT scan and surgical consultation would not have

changed Ms. Kaylo.r's outcome because Dr. Arrisueno would have-as they argue he did for

purposes of their motion-misdiagnosed Ms. Kaylor regardless of when he engaged in the
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consultation. See ECF 86-1, at 14. Since Dr. Arrisueno was the surgical consultant and was




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   This argument borders on a related but separate argument of superseding causation. The fact
that a surgical consultation obtained on April 9, 2020, did not result in an emergency surgical
intervention is essentially an argument of supervening causation, because it points th~ finger at the
alleged negligence of Dr. Arrisueno, the surgical consultant. ECF 86-1, at 15. To the extent
Movants rely on this reasoning, such an analysis only comes after one determines that the
antecedent negligence was, in fact, a cause-in-fact of the injury. See Pittway Corp., 973 A.2d at
788 (noting that only after determining whether "multiple negligent acts· or omissions are [] a
cause-in-fact of a plaintiff's injuries" does a court assess the foreseeability analysis, which
"involve[s] an inquiry into whether a negligent defendant is rel!eved from liability by intervening
negligent acts or omissions"); Young, 667 F. Supp. 2d at 566. "[A] superseding cause arises
primarily when 'unusual' and 'extraordinary' independent intervening negligent acts occur that
could not have been anticipated by the original tortfeas01:.'' Pittway Corp., 973 A.2d at 789-90
(quoting McGowans v. Howard, 197 A.2d 915, 918 (Md. 1964)); Young, 667 F. Supp. 2d at 566.
Because Movants have not expressly alleged that Dr. Arrisueno's negligence was a superseding
cause, the Court need not delve into this alternate argument. See ECF 86.

        Movants'. point is also somewhat undercut as to Dr. Pilla, Dr. Flint, and Mr. Kuhn, as
Plaintiffs point to an on-call schedule for the week of Ms. Kaylor's hospitalization, indicating that
Dr. Arrisueno would not have been the on-call surgeon on April 7, 2020. See ECF 89-33. This
would support the inference that if a reasonably prudent on-call surgeon would have been called,
Ms. Kaylor's illness would have been diagnosed by April 7, 2020. See id. (indicating Dr. Chisholm
was on call on April 7, 2020, and Dr. Arrisueno was on call April 8-12, 2020). Given that another
doctor was on call on April 7, 2020, a reasonable jury could conclude that Drs. Pilla and Flint, and
Mr. Kuhn, who each observed Ms. Kaylor on April 7, 2020, were a substantial factor in Ms.
Kaylor's permanent disability.
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presumably in the best position to diagnose necrotizing fasciitis, 32 Movants essentially argue that

. his failure to properly-diagnose Ms. Kaylor made it such that Ms. Kaylor's outcome would have

remained the same regardless of whether Movants had met their duty of care. See id. While it is

possible a jury could be convinced of such, Plaintiffs offer enough evidence to suggest that Ms. •

Kaylor's outcome could have been different had the Movants not breached the standard of care.

Stated differently, what would have happened had Movants acted within the standard of care and

whether Ms. Kaylor would have been diagnosed sooner is a question of fact that cannot be

determined at this stage.

        Specifically, Plaintiffs' experts testify that necrotizing fasciitis is a condition that can only

be diagnosed definitively in an operating room. ECF 89-27, at 10, 110:5-lJ Pla;ntiffs' experts

testify that the standard of care requires medical professiona;s with a reasonlble suspicion of the
                                                                                   !

disease to order a STAT CT and STAT surgical consultation. ECF 89-26,' at 3-4, 84:4-97:17
                                  •                                   '
(regarding Mr. Kuhn and Dr. Flint); ECF 89-27, at 5-8, 77:17-102:15 (regarding Dr. Pilla and Dr. .
                                                                                   i
Sensabaugh); ECF 89-27, at 11-12, 119:3-126:12 (regarding Ms. Pepe); ECL 89-28, at 7, 85:3-

 89: 14 (regarding Dr. Ali); ECF 89-28, at 10, 106:20-111 J 4 (regarding Dr.1ddo).

        A prerequisite to that, of course, is suspecting the disease when there is sufficient evidence
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of the disease. Plaintiffs' experts indicate that as soon as the 7th, a reasonably prudent medical

professional should have been concerned for necrotizing fasciitis and acted to rule out the life-

threatening infection. See, e.g., ECF 89-26, at 3-4, 84:7-97: 17 (opining as to Mr. Kuhn and Dr.




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definitively diagnosed in surgery, ECF 89-27, at 10, 110:6-8, and it is inherent in expert testimony
that the standard of care requires a surgical consultation because surgeons ~ould be in the best
position to make t_he definitive diagnosis in the operatirig room. See, e.g., ECt 89-28, at 4, 64:12-
20 (discussing the standard of care requiring a stat surgical consultation when,there are suspicions
of a surgical emergency).                                                       '
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 Flint, who evaluated_ Ms. Kaylor on April 7, 2020); ECF 89-27, at 5-6, 77:l 7r78:l (opining as to

 Dr. Pilla, who evaluated Ms. Kaylor on April 7, 2020). Thus, Plaintiffs' experts opine that medical

 professionals on April 7th breached the standard of care by failing to recog~ize Ms. Kaylor was

 presenting wi~h clas~ic signs ofne·crotizi~g fasciitis. 33 ECF 89-26, at 3-4, 8r:7-97:17; ECF 89-
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 27, at 5-6, 77.17-78.1.                                     .

        So too the medical professionals on April 8, 2020, were required to recognize the risk of

. necrotizing fasciitis and order a STAT CT and STAT surgical consultation. ECF 89-27, at_7-8,
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 97:5-9 (as to Dr. Sensabaugh); id. at 11-12, 119:3-126:12 (as to Ms. PepJ}; ECF 89-28, at 7,
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 85:3-89:8 (asto Dr. Ali). While Dr. Arrisueno was the on-call surgical consult from April 8, 2020,
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 through April 11, 2020, ECF 89-33, Dr. Arrisueno's notes do not indicate that he considered a
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 diagnosis of necrotizing fasciitis, ECF 89-16, at 2-3. A reasonable jury! may, therefore, be
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 persuaded that had Movants acted within the standard of care on April 8, 2020, they would have

 presented Dr. Arrisueno with the concern of necrotizing fasciitis, and a jury may infer that those
                                 '                                          ' !             '
 conversations would have influenced Dr. Arrisueno's opinion, resulting in 'a swifter diagnosis.
                                         '                                        :

 Moreover, such conversations would have occurred against the backdrop of Plaintiff's continued
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 failure to respond to treatment for conditions she didn't have, thus providing   anI additional reason
 for a jury to conclude that the course of Plaintiffs· treatment may have proce~ded differently had
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 Movants presented the concern of necrotizing fasciitis· sooner.                      I
                                                                                      I
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        This inference is supported by expert testimony regarding the nature o~necrotizing fasciitis

 and its method of diagnosis.     Plaintiffs' experts will testify that diagno I ing a patient with




 33 As to· these Movants, Plaintiffs have established that a different surgeon was on-call and have

 presented expert testimony that had "any reasonably -prudent surgeon" *een con~ulted, the
 reasonably prudent surgeon would have diagnosed Ms. Kay!or's infection andI immediately either
 operated or found another surgeon to immediately surgically intervene. See ECF 89-29, at 3 ~ 10.
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necrotizing fasciitis is not a binary that is confirmable, for instance, with a ~ijnple test. See ECF
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89-27, at 6, 78:15-18 (noting "the imaging study is not a definitive diagnosi~ ofnecrotizing soft

tissue infection," rather it is "the surgical exploration that provides the definiti:ve diagnosis"). It is

an illness that requires professional expertise and diagnostic judgment to catfh. See id. 81: 8-18

(noting physicians "don't rely upon a radiology interpretation to nile out ecrotizing fasciitis"
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because the diagnosis comes from "the combination of severe .clinical ,findings, and most

importantly ... the surgical findings"); ECF 89-28, at 4, 64:5-20 (noting that     t           some cases "when

you're concerned about a surgical emergency, even before you have the ima!ing ... you need to
        .                                                                              I                          .
have the surgeon involved[.]"). Doctors must look both at laboratory results and the patient's
                                                                                       '
clinical presentation, and even still, the illness can only be confirmed with surgical intervention.
                                                                                       '
See ECF 89-27, at 6, 81 :10-12. Therefore, a reasonable jury can draw diffe~ent inferences about

what would have happened had Ms. Kaylor received a STAT surgical consultation informed by
                                             '                                         '

other medical professionals' concerns ofnecrotizing fasciitis.

        The only Movant whose alleged negligence came after Dr. Arrisueno'l non-urgent surgical

consultation was Dr. Adda's, who visited Plaintiff on the ~orning of April ~O, 2020. ECF 1, .at

13, 28. Movants argue that Dr. Addo was too late to change the outcome of Ms. Kaylor's injuries

. because, as noted above, Dr. Freed drew a "line in the sand" on the momiJg of April 1o·, 2020,
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such that after that the permanent damage set in. ECF 86-1, at 14-15. Additionally, because
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Plaintiffs' expert Dr. McMeeking34 estimated it can take one to three hour~ to obtain a surgical




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 causation and damages experts. See ECF 89-24, at 11-14; see also 8q-7 (Dr. McMeeking
 deposition), at 1-6. Dr. McMeeking is expected to opine about Dr. Thap~'s breaches causing
 Plaintiffs' disability, ECF 89-24, at 11-14; ECF 86-7, at 5, 180:6-16. Dr. ~cMeeking's opinions
 do not feature prominently in the parties' arguments on the present motion as Dr. Thapa is not one
-of the Movants. See ECF 86.
                                                   24
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consultation, ECF 86-7, at 6, 184:11-16, Movants reason it was simply too late for Dr. Addo to

make a difference. ECF 86-1, at 14-15. Again, a reasonable jury could be persuaded that injuries

from necrotizing fasciitis can be assessed on a sliding scale and could infer that every additional

hour without proper treatment causes more harm. See supra Section III.A. I. But eveI,l if this "line

in the sand" interpretation persuaded the jury, Plaintiffs have still established a genuine dispute of

material fact as to how long it would have taken to get Ms. Kaylor in an operating room. The

UPMC Hospital submitted via admission that an onccall trauma surgeon is available within thirty

minutes and that a surgeon was available for a STAT consultation within one hour, not three. ECF

89-12, at 3. At the very least, this creates another genuine dispute of material fact as to how long

it would have taken Dr. Addo to order a consult and get Ms. Kaylor into an operating room, and a

dispute of fact as to whether that time would have been sufficient to prevent Ms. Kaylor's

permanent disabilities.

       B.    Plaintiffs have established a prima facie showing of medical negligence.

       Plaintiffs argue that they provide sufficient evidence to support ajury's finding of medical

negligence. ECF 89-1, at 25-27. Movants counter that the only expert testimony on the issue of

causation is too general to support a causal inference. ECF 86-1, at 14---15. I agree with Plaintiffs

that there is sufficient evidence supporting a causal inference when the evidence is viewed in a

light most favorable to Plaintiffs. Tolan, 572 U.S. at 657; Scott, 550 U.S. at 378.

               I.     Adventist Healthcare Inc. v. Mattingly is persuasive.

       Plaintiffs analogize this case to Adventist Healthcare Inc. v. Mattingly, 223 A.3d I 025 (Md.

App. 2020). ECF 89-1, at 24. In Mattingly, the plaintiffs alleged that following bowel surgery, a

defendant surgeon (Dr. Anand) failed to timely diagnose and treat a post-surgical bowel leak that

led to sepsis and caused the decedent's death.        Id. at 1026.    Additionally, .a nurse (Nurse
                                      '
Matilukuro) employed by the defendant hospital failed to move with urgency to escalate the
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decedent's care after the defendant surgeon failed to respond to multiple telephone calls. Id. at

I 028-31.   On appeal, the defendant hospital argued that plaintiffs failed to present expert

testimony on the issue of causation and claimed that the circuit court erred in denying their motion
                                    .              .
for judgement notwithstanding the verdict. Id. at 1038.

       The Appellate Court held that; in fact, there was "more thah sufficient" evidence to

establish the element of causation. Id. at 1039. The plaintiffs in Mattingly presented expert

witnesses who opined on the standard of care, indicating that a leaking bowel is a surgical

emergency that requires an immediate operation. Id. The expert witnesses opined that based on

the patient's reported symptoms, the nurse was required to alert the Rapid Response Team35 by

8:30 a.m., at the latest. Id. Additionally, the experts opined that if the decedent's emergency

operation to address the leaking bowl had been performed by I 0:00 a.m., which it was not, the

decedent would have survived. Id. at 1028, 1039. In Mattingly, there were no independently

designated "causation experts"; however, the Court held there was sufficient evidence for a jury

to find causation because when a particular medical condition is deemed critical and the standard

of care requires immediate operation, a lay person can reasonably infer that the lack of an

immediate, critical operation coupled with an immediate and predictable_ injury suffices to

establish causation. See id. at 1039-40.

       This is precisely what Plaintiffs have provided. Dr. Freed, Plaintiffs' designated causation

expert, opined "to a reasonable degree of medical probability that had the [] surgical intervention

occurred at any time between April 7, 2020 and the morning of April 10, 2020, then [Ms.] Kay!or




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   In Mattingly, the nurse was required under the Hospital's Chain of Command policy to alert a
"Rapid Response Team or Code Blue Team" to respond to situations of "medical emergencies,"
defined as "life-threatening issue[s]" that require "immediate intervention." 223 A.3d at 1039
(alteration in original).
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more likely than not would have returned to reasonable function and been able to pe_rform her
                •                                                           '              '
activitie_s without permanent disability." ECF 89-29, at 4 1 11. At bottom, Plaintiffs allege that

each Movant breached their applicable standard of care, which delayed the diagnosis of necrotizing

fasciitis, and that the delay in diagnosis permitted Ms. Kaylor's necrotizing infection to progress

and spread. See ECF 1, at 15-16133-34; ECF 89-30, at 4, 85:22-86:12 (comparing necrotizing

fasciitis to a cancer that spreads); ECF 89-28, at- 11, 110:11-13 ("[T]he sooner surgical

intervention would have been done, the overall better the outcomes."). Plaintiffs' experts have

opined that Ms. Kaylor's condition required immediate surgical intervention. ECF 89-29, at 3 1

9; ECF 89-28, at 6, 78:4-6 ("[T]his was, .. considered a surgical emergency[.]"). It is a cond~tion

that imperils "life and limb" and it is a "Class 1 emergency" 'taking precedence over all other

surgeries. ECF 89-30, at 3, 75110-14 (emphasis added); ECF 89-28 (Dr. Elizabeth Van Opstal),

at 6, 78:17-21 ("[I]fyou have a reasonable concern for necrotizing fasciitis, everything needs to

be done stat[.]"). A lay person can reasonably infer that the lack of an in;unediate, critical surgical

intervention coupled with an immediate and predictable injury-namely, more necrotic flesh and

more ioss of tissue-suffices to establish causation. ECF 89-30, at 4, 86:8-11 (noting "the longer

the delay, the more tissue dies and the more tissue dies the more likely it is that we will have a

permanent disability").

       Movants attempt to distinguish Mattingly by claiming that Movants' alleged breaches were

eventually remedied when Ms. Kaylor received a CT scan on the morning of April 9, 2020, and a

surgical consultation dur,ing the afternoon of April 9, 2020, both of which occurred before the

proverbial "point of no return" on April 10, 2020. ECF 90, at 2. However, these arguments do

not persuade because Plaintiffs' expert testimony may convince a jury that Ms. Kaylor's condition

worsened during the delay when Ms. Kaylor was misdiagnosed. See supra Section III.A.



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               2.    Dr. Freed's Testimony is sufficiently specific to satisfy Plaintiffs burden of
                     establishing prima facie evidence of causation.

        Movants also argue that Dr. Freed's testimony is "so general as to be meaningless," ECF

86-1, at 14. Movants argue it is impossible for the jury to apportion the amount of necrotic decay

per day, or per hour based on Dr. Freed's testimony. See id. (arguing Dr. Freed "could not quantify

or explain how [Ms.] Kaylor's outcome would have been different with any specificity"). Movants

attempt, therefore, to cast Dr. Freed's testimony as a binary where either Ms. Kaylor could or could

not avoid permanent disability with surgical intervention. See id.

       It is true that Dr. Freed does not, for instance, describe how quickly necrotic infections

spread-beyond generally classifying them as life-threatening emergencies. See ECF 89-30, at 3-

4, 75:10-86: 12. It is also true that Dr. Freed does not specify different levels of disability that may

result depending upon when Ms. Kaylor was diagnosed-beyond generally opining that operating

earlier is better and that permanent disability more likely than not could h~ve been avoided with

surgical intervention onApril 7 and 8, 2020. ECF 89-30, at 4, 86:1-12. However, Movants have

not identified caselaw indicating that this testimony is insufficient as a matter oflaw. ECF 86-1,

at 14-16. The only case Movants cite in support of this proposition is Porter Hayden Co. v. Wyche,

738 A._2d 326 (Md. App. 1999). See ECF 86-1, at 16. However, as explained next, Porter is

distinguishable.

       In Porter, after a defendant was adjudg-ed liable for a plaintiffs asbestos-related lung

cancer, the trial court ruled as a matter oflaw that the plaintiffs expert testimony about the genesis

of the cancer sufficiently established that the plaintiffs lung cancer pre-dated Maryland'spassage

of a statutory cap on noneconomic damages. Id. at 328. The Appellate Court reversed, holding

that the expert's testimony as to the genesis of the plaintiffs cancer was too speculative to suppo~

the trial court's determination that the cancer pre-dated the statutory cap legislation in 1986 as a


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matter oflaw. Id at 330. The expert testimony stated only that the cancer probably began between

five to ten years prior and "toward the longer interval of that five to ten-year window." Id This

left the jury to speculate as to whether the cancer pre-dated the law, because if the cancer began

seven years prior to the plaintiffs diagnosis in 1993, then the statutory cap would not apply,

whereas if the cancer 9egan six years prior to his diagnosis, the cap would apply. Id Thus, because

the expert's opinion testimony, even if credited by a jury, would leave the jury to guess as to when

the cancer began, the expert testimony was adjudged insufficient as a matter of law. Id at 330-

31.

       By contrast, here, there is no speculation as to whether delays in Ms. Kaylor's diagnosis

caused her harm-Dr. Freed unequivocally testified that they did. S~e, e.g., ECF 89-30, at 4,

85:22-86: 12 (comparing necrotizing fasciitis to cancer); see also supra Section III.A. I (explaining

that a reasonable jury could understand Dr. Freed's testimony to describe a sliding scale approach

to the harm caused by delays to Ms. Kaylor's surgery). There is a material difference between

Porter, where the jury would hav_e to guess at a material fact that would determine whether or not

a statutory cap applied, see id, and this case, where the jury does not have to guess to determine

that delays in diagnosing Ms. Kaylor caused her harm, ECF 89-30, at 4, 85:22-86:12. Dr. Freed

unequivocally opined that "if the surgery had occurred on the 9th, more likely th~ not she would

have returned to full function, had another 48 hours not transpired before her compartments would

be compressed and all the necrotic tissue removed." 36 ECF 89-30, at 4, 86:13-22. This is

sufficiently specific as to all Movants that allegedly-breached their duties on April 7, 8, and 9,

2020 (Drs. Flint, Pilla, Sensabaugh, Ali, and Mr. Kuhn and Ms. Pepe).




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   Dr. Freed was also unequivocal that on April 11, 2020, there was "certainly enough tissue loss
to cause a permanent deficit." ECF 89-30 at 4, 87:12-14.
                                                 29
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        Dr. Freed's testimony is also sufficiently specific to encompass Dr. Addo's alleged

negligence on April I 0, 2020. No doubt, Dr. Freed's least specific and least certain opinion related

to picking the latest point in time when permanent disability could have been avoided. See id.

87:14-15 ("Again this is a ~rystal ball. You're asking me to estimate."). Dr. Freed estimated that

Ms. Kaylor more likely than not would have avoided permanent disability had she been operated

on by the morning of April 10, 2020. ECF 89-29, at 4, II; ECF 89-30, at 4, 87:10-14. The

."morning of' April 10, 2020, .could be considered a term that invites speculation, just as the expert

in Porter invited speculation by opining that the cancer began during the "longer interval of that

five to ten-year window." See Porter, 738 A.2d at 330.

        Yet even if Dr. Freed's testimony invites speculation as to whether Dr. Addo could have

caught Ms. Kaylor's necrotizing fasciitis and ayoided permanent disability altogether, a jury can

nevertheless still reasonably infer that the permanent disability Ms. Kaylor now has is worse than

it would have been had Dr. Addo not breached his duty on April I 0, 2020. If the jury credits Dr.

Freed's testimony that "the longer they delay, the inore tissue_dies," ECF 89-30, at 4, 86:8-12, a

jury can reasonably conclude that the amount of tissue that had to be excised and the level of Ms.

Kaylor's current disability is causally related to Dr. Addo, as well.

        In sum, Plaintiffs have met their burden to establish a prima facie case of medical

negligence because a jury could reasonably conclude that (I) Ms. Kaylor had necrotizing fasciitis.

when she arrived on April 7, 2020, ECF 89-29, at 3 , 8; (2) Ms. Kaylor's symptoms were

sufficiently alarming as to alert a reasonably prudent medical professional of the potential

condition, ECF 89-25, at 3-4, 73:14-78:2 (opining as to Mr. Kuhn and Dr. Flint); ECF 89-27, at

7, 97:5-9 (opining as to Dr. Sensabaugh); ECF 89-27, at 10-12, lll:7-129:8 (opining as to Dr.

Ali, .Dr. Addo and Ms. Pepe); (3) .had a reasonably prudent medical professional suspected the.



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condition, they would have ordered a STAT surgical consultation and a STAT CT, ECF 89-25, at

3--4, 73:14-78:2; ECF 89-27, at 7, 97:5-9; ECF 89-28, at 10-12, 111:7-129:8; and (4) had any

Movant done so, any reasonably prudent surgeon would have taken Ms. Kaylor to an operating

room, confirmed her diagnosis, and immediately surgically intervened. ECF 89-29, at 3 ,r 10; see

also ECF 89-12 (UPMC Hospital Admissions), at 3 (acknowledging "an on-call trauma surgeon

was available within 30 minutes of being called" and "a general surgeon was a,vailable within one

hour of a STAT request for surgical consultation"); ECF 89-21 (Ms. Kaylor's Operative Report

from WVU Hospital), at 2-3 (indicating Ms. Kaylor's necrotizing fasciitis is a "surgical

emergency and [that] she [was] taken directly from the emergency room to the OR"). Additionally,

it appears to be a dispute of fact as to whether earlier surgery for Ms. Kaylor would have resulted

in less tissue removal and thus less extensive permanent disabilities. ECF 89-29, at 4 ,r 1 l; ECF

89-30, at 4, 1-12. It is not my role to settle thi~ dispute at this stage.

        Ultimately, causation is a question that ordinarily goes to a jury. See Coles v. Jenkins, 34

F. Supp. 2d 381,388 (W.D. Va. 1998); In re Lone Star Indus. Inc., Concrete R.R. Cross Ties Litig.,

882 F. Supp. 482, 496 (D. Md. 1995) ("Once the opinion of a qualified expert is admitted in

evidence, the causation issue is for the trier of fact."). "Whether or not a defendant's negligence

proximately caused an accident 'becomes a question of law only when the evidence is such that

there can be no difference in the judgment of reasonable [people] as to the inferences to be drawn

from it."' Coles, 34 F. Supp. 2d at 388 (quoting Scott v. Simms, 51 S.E.2d 250, 253 (Va. 1949))).

This is not the case here, as jurors could reasonably draw different conclusions as to the inferences

herein. One reasonable inference a jury could draw is that each Movant was a substantial cause in

Ms. Kaylor's injuries. As the facts are not "so one-sided that one party must prevail as a matter of




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law," Anderson, 477 U.S. at 251-52, I find the evidence Plaintiffs submit "presents a sufficient

disagreement to require submission to a [trier of fact]." Id.

IV.    CONCLUSION

      • For the foregoing reasons, Movants' motion for summary judgment at ECF 86 is

DENIED. A separate implementing Order will issue.




Dated: May 8, 2024                                                             Isl
                                                                Brendan A. Hurson
                                                                United States District Judge




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